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    1                         UNITED STATES DISTRICT COURT
    2                        CENTRAL DISTRICT OF CALIFORNIA
                                   SOUTHERN DIVISION
    3
        SERENA FLEITES,                          CASE NO. 2:21-CV-04920-CJC-ADSx
    4
                    Plaintiff,
    5
              v.
    6
      MINDGEEK S.A.R.L.; MG
    7 FREESITES, LTD; MINDGEEK USA
    8 INCORPORATED; MG PREMIUM
      LTD.; MG GLOBAL                            ORDER GRANTING
    9 ENTERTAINMENT INC.; 9219-1568              PLAINTIFF’S REQUEST FOR
                                                 ISSUANCE OF AMENDED
   10 QUEBEC, INC.; BERND BERGMAIR;              REQUEST FOR INTERNATIONAL
      FERAS ANTOON; DAVID                        JUDICIAL ASSISTANCE
   11 TASSILLO; COREY URMAN; VISA
   12 INC.; COLBECK CAPITAL DOES 1-
      5; BERGMAIR DOES 1-5
   13
   14           Defendants.

   15
   16         This Court, having considered the Parties’ stipulation and submissions in

   17 connection with the Plaintiff’s request for the issuance of a Letter Rogatory to
   18 Raymond Chabot Grant Thornton LLP, and for good cause appearing, hereby rules as
   19 follows:
   20       IT IS ORDERED that the request to issue the Letter Rogatory annexed hereto

   21 as Exhibit 1, is GRANTED.
   22
   23 IT IS SO ORDERED.
   24 Dated: _____________________
               January 25, 2023
   25
                                                  /s/ Autumn D. Spaeth
   26
                                              HONORABLE AUTUMN D. SPAETH
   27                                         United States Magistrate Judge

   28
                                              1               CASE NO. 21-CV-04920-CJC-ADS
        ORDER GRANTING PLAINTIFF’S REQUEST FOR ISSUANCE OF AMENDED REQUEST FOR
        INTERNATIONAL JUDICIAL ASSISTANCE
